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                                UNITED STATES DISTRICT COURT
  7
                              CENTRAL DISTRICT OF CALIFORNIA
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  9
            WILLIENE JACKSON-JONES,                    Case No. 2:23-cv-02567-ODW-SK
 10
            individually and on behalf of all others
 11         situated, KAREN SANTOS,                    [PROPOSED] STIPULATED
            individually and on behalf of all others   PROTECTIVE ORDER
 12
            situated,
 13

 14                      Plaintiffs,
                   v.
 15

 16         EPOCH EVERLASTING PLAY, LLC,
            a Delaware limited liability company,
 17         TARGET CORPORATION, a
            Minnesota corporation, and
 18         AMAZON.COM SERVICES LLC, a
            Delaware corporation,
 19                      Defendants.
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 22
       1.       A. PURPOSES AND LIMITATIONS

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                Discovery in this action is likely to involve production of confidential,

 24
       proprietary, or private information for which special protection from public disclosure

 25
       and from use for any purpose other than prosecuting this litigation may be warranted.

 26
       Accordingly, the Parties hereby stipulate to and petition the Court to enter the

 27
       following Stipulated Protective Order. The Parties acknowledge that this Order does

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       not confer blanket protections on all disclosures or responses to discovery and that
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  1    the protection it affords from public disclosure and use extends only to the limited
  2    information or items that are entitled to confidential treatment under the applicable
  3    legal principles. The Parties further acknowledge, as set forth in Section 12.3, below,
  4    that this Stipulated Protective Order does not entitle them to file confidential
  5    information under seal; Civil Local Rule 79-5 sets forth the procedures that must be
  6    followed and the standards that will be applied when a party seeks permission from
  7    the Court to file material under seal.
  8          B. GOOD CAUSE STATEMENT
  9          This Action is likely to involve the production and exchange of
 10    confidential, proprietary, and private materials and information for which
 11    special protection from public disclosure and from use for any purpose other than
 12    prosecution of this action is warranted. Such confidential, proprietary, and private
 13    materials and information may consist of, among other things, (1) financial
 14    information relating to the Producing Party’s sales and revenues; (2) information
 15    regarding confidential business practices; (3) private customer information, including
 16    their names, addresses, and contact information; (4) non-public and commercially
 17    sensitive information concerning the development, manufacturing, marketing,
 18    labeling, advertising, distribution, and sales of Calico Critters products; and (5) other
 19    sensitive commercial information that is generally unavailable to the public, or which
 20    may be privileged or otherwise protected from disclosure under state or federal
 21    statutes, court rules, case decisions, or common law.
 22          Accordingly, to expedite the flow of information, to facilitate the prompt
 23    resolution of disputes over confidentiality of discovery materials, to adequately
 24    protect information the Parties are entitled to keep confidential, to ensure that the
 25    Parties are permitted reasonably necessary uses of such material in preparation for and
 26    in the conduct of trial, to address their handling at the end of the litigation, and serve
 27    the ends of justice, a protective order for such information is justified in this matter.
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  1          It is the intent of the Parties that information will not be designated as
  2    confidential for tactical reasons and that nothing be so designated without a good
  3    faith belief that it has been maintained in a confidential, non-public manner, and there
  4    is good cause why it should not be part of the public record of this case.
  5    2.    DEFINITIONS
  6          2.1    Action: the action currently pending in the U.S. District Court for the
  7    Central District of California styled Williene Jackson-Jones, et al. v. Epoch
  8    Everlasting Play, LLC, et al., Case No. 2:23-cv-02567-ODW-SK (C.D. Cal.).
  9          2.2    Challenging Party: a Party or Non-Party that challenges the designation
 10    of information or items as CONFIDENTIAL or HIGHLY CONFIDENTIAL –
 11    ATTORNEYS’ EYES ONLY under this Order.
 12          2.3    “CONFIDENTIAL” Information or Items: information (regardless of
 13    how it is generated, stored, or maintained) or tangible things that qualify for protection
 14    under Federal Rule of Civil Procedure 26(c), and as specified above in the Good
 15    Cause Statement in Section 1.2, above.
 16          2.4    “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”
 17    Information or Items: information (regardless of how it is generated, stored, or
 18    maintained) or tangible things that qualify for protection as “CONFIDENTIAL”
 19    Information or Items, as defined in Section 2.3, and constitute or contain business
 20    information of a most sensitive nature, such as that it might be of significant value to
 21    an actual or potential competitor of the Producing Party, and which must be protected
 22    from disclosure as set forth herein. Such information includes, but is not limited to,
 23    confidential sales and revenue information, trade secrets, and other highly sensitive
 24    commercial information. Among other reasons, a “HIGHLY CONFIDENTIAL –
 25    ATTORNEYS’ EYES ONLY” designation is needed in this Action because the
 26    Defendants are competitors and, therefore, certain CONFIDENTIAL Information or
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  1    Items that will likely be produced in discovery should be limited to the Parties’
  2    Outside Counsel of Record.
  3           2.5    Counsel: Outside Counsel of Record and In-House Counsel (as well as
  4    their support staff).
  5           2.6    Designating Party: a Party or Non-Party that designates information or
  6    items that it produces in disclosures or in responses to discovery as
  7    “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
  8    ONLY.”
  9           2.7    Disclosure or Discovery Material: all items or information, regardless of
 10    the medium or manner in which it is generated, stored, or maintained (including,
 11    among other things, testimony, transcripts, documents, and tangible things), that are
 12    produced or generated in disclosures or responses to discovery in this Action.
 13           2.8    Expert: a person with specialized knowledge or experience in a matter
 14    pertinent to the Action who has been retained by a Party or its Counsel to serve as an
 15    expert witness or as a consultant in this Action.
 16           2.9    In-House Counsel: attorneys who are employees of a Party to this
 17    Action. In-House Counsel does not include Outside Counsel of Record or any other
 18    outside counsel.
 19           2.10 Non-Party: any natural person, partnership, corporation, association, or
 20    other legal entity not named as a Party to this Action.
 21           2.11 Outside Counsel of Record: attorneys who are not employees of a Party
 22    to this Action but are retained to represent or advise a Party to this Action and have
 23    appeared in this Action on behalf of that Party or are affiliated with a law firm which
 24    has appeared on behalf of that Party, and includes support staff.
 25           2.12 Party: any Party to this Action, including all of its officers, directors,
 26    employees, consultants, retained experts, and Outside Counsel of Record (and their
 27    support staff).
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  1          2.13 Producing Party: a Party or Non-Party that produces Disclosure or
  2    Discovery Material in this Action.
  3          2.14 Professional Vendors: persons or entities that provide litigation support
  4    services (e.g., photocopying, videotaping, translating, preparing exhibits or
  5    demonstrations, and organizing, storing, or retrieving data in any form or medium)
  6    and their employees and subcontractors.
  7          2.15 Protected Material: any Disclosure or Discovery Material that is
  8    designated as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’
  9    EYES ONLY.”
 10          2.16 Receiving Party: a Party that receives Disclosure or Discovery Material
 11    from a Producing Party.
 12    3.    SCOPE
 13          The protections conferred by this Stipulation and Order cover not only
 14    Protected Material (as defined above), but also (1) any information copied or extracted
 15    from Protected Material; (2) all copies, excerpts, summaries, or compilations of
 16    Protected Material; and (3) any testimony, conversations, or presentations by Parties
 17    or their Counsel that might reveal Protected Material.
 18          Any use of Protected Material at trial will be governed by the orders of the trial
 19    judge. This Order does not govern the use of Protected Material at trial.
 20    4.    DURATION
 21          Even after final disposition of this litigation, the confidentiality obligations
 22    imposed by this Order will remain in effect until a Designating Party agrees otherwise
 23    in writing or a court order otherwise directs. Final disposition will be deemed to be
 24    the later of (1) dismissal of all claims and defenses in this Action, with or without
 25    prejudice; and (2) final judgment herein after the completion and exhaustion of all
 26    appeals, rehearings, remands, trials, or reviews of this Action, including the time
 27    limits for filing any motions or applications for extension of time pursuant to
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  1    applicable law. The Parties’ consent to this provision shall not be deemed a waiver
  2    with regard to any Party’s ability to challenge the claimed confidentiality of any
  3    discovery material under Paragraph 6 (CHALLENGING CONFIDENTIALITY
  4    DESIGNATIONS).
  5    5.    DESIGNATING PROTECTED MATERIAL
  6          5.1       Exercise of Restraint and Care in Designating Material for Protection.
  7          Each Party or Non-Party that designates information or items for protection
  8    under this Order must take care to limit any such designation to specific material that
  9    qualifies under the appropriate standards. The Designating Party must designate for
 10    protection only those parts of material, documents, items, or oral or written
 11    communications that qualify, so that other portions of the material, documents, items,
 12    or communications for which protection is not warranted are not swept unjustifiably
 13    within the ambit of this Order.
 14          Mass, indiscriminate, or routinized designations are prohibited. Designations
 15    that are shown to be clearly unjustified or that have been made for an improper
 16    purpose (e.g., to unnecessarily encumber the case development process or to impose
 17    unnecessary expenses and burdens on other parties) may expose the Designating Party
 18    to sanctions.
 19          If it comes to a Designating Party’s attention that information or items that it
 20    designated for protection do not qualify for protection, the Designating Party must
 21    promptly notify all other Parties that it is withdrawing the mistaken designation.
 22          5.2       Manner and Timing of Designations.
 23          Except as otherwise provided in this Order (see, e.g., second paragraph of
 24    section 5.2(a) below), or as otherwise stipulated or ordered, Disclosure or Discovery
 25    Material that qualifies for protection under this Order must be clearly so designated
 26    before the material is disclosed or produced.
 27          Designation in conformity with this Order requires:
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  1                 (a).   For information in documentary form (e.g., paper or electronic
  2    documents, but excluding transcripts of depositions or other pretrial or trial
  3    proceedings), that the Producing Party affix, at a minimum, the legend
  4    “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
  5    ONLY” (hereinafter “CONFIDENTIAL legend” and “HIGHLY CONFIDENTIAL –
  6    ATTORNEYS’ EYES ONLY legend”) to each page that contains protected material.
  7                 A Party or Non-Party that makes original documents available for
  8    inspection need not designate them for protection until after the inspecting Party has
  9    indicated which documents it would like copied and produced. During the inspection
 10    and before the designation, all of the material made available for inspection will be
 11    deemed “CONFIDENTIAL.” After the inspecting Party has identified the documents
 12    it wants copied and produced, the Producing Party must determine which documents,
 13    or portions thereof, qualify for protection under this Order. Then, before producing
 14    the specified documents, the Producing Party must affix the “CONFIDENTIAL
 15    legend” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY legend” to
 16    each page that contains Protected Material.
 17                 (b) for testimony given in depositions or in other pretrial proceedings,
 18    that the Designating Party identify on the record, during the deposition or other
 19    pretrial   proceeding,   whether     the   testimony    contains   Protected    Material.
 20    Subsequently, the Designating Party must, within fourteen (14) days after receiving
 21    the final transcript of the deposition or other pretrial proceedings, designate portions
 22    of the transcript, or exhibits thereto, as Protected Material and notify all other Parties
 23    and participating Non-Parties of those designations. All Parties and participating
 24    Non-Parties must treat the transcript in its entirety as Protected Material until the
 25    fourteen (14) day period has expired and thereafter must treat all portions designated
 26    as Protected Material accordingly.
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  1                 (c) for information produced in some form other than documentary and
  2    for any other tangible items, that the Producing Party affix in a prominent place on
  3    the exterior of the container or containers in which the information is stored the legend
  4    “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
  5    ONLY.” If only a portion or portions of the information warrants protection, the
  6    Producing Party, to the extent practicable, will identify the protected portion(s).
  7          5.3    Inadvertent Failures to Designate.
  8          An inadvertent failure to designate qualified information or items as Protected
  9    Material does not, standing alone, waive the Producing Party’s right to secure
 10    protection under this Order for such material. Upon correction of a designation, the
 11    Receiving Party must make reasonable efforts to assure that the designated material
 12    is treated as Protected Material in accordance with the provisions of this Order.
 13    6.    CHALLENGING CONFIDENTIALITY DESIGNATIONS
 14          6.1    Timing of Challenges.
 15          Any Party or Non-Party may challenge a designation of confidentiality at any
 16    time that is consistent with the Court’s Scheduling Order. Unless a prompt challenge
 17    to a Designating Party’s designation is necessary to avoid foreseeable, substantial
 18    unfairness, unnecessary economic burdens, or a significant disruption or delay of the
 19    Action, a Party does not waive its right to challenge a confidentiality designation by
 20    electing not to mount a challenge promptly after the original designation is disclosed.
 21          6.2    Meet and Confer.
 22          To the extent a Party seeks to challenge a designation of confidentiality, the
 23    Challenging Party will initiate the dispute resolution process (and, if necessary, file a
 24    discovery motion) under Local Civil Rule 37.1, et seq.
 25          6.3    Burden of Persuasion.
 26          The burden of persuasion in any such proceeding challenging a designation of
 27    confidentiality will be on the Designating Party. Frivolous challenges, and those
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  1    made for an improper purpose (e.g., to harass or impose unnecessary expenses and
  2    burdens on other parties) may expose the Challenging Party to sanctions. Unless the
  3    Designating Party has waived or withdrawn the confidentiality designation, all Parties
  4    will continue to afford the material in question the level of protection to which it is
  5    entitled under the Designating Party’s designation until the Court rules on the
  6    challenge.
  7    7.    ACCESS TO AND USE OF PROTECTED MATERIAL
  8          7.1    Basic Principles.
  9          A Receiving Party may use Protected Material that is disclosed or produced by
 10    another Party or by a Non-Party in connection with this Action only for prosecuting,
 11    defending, or attempting to settle this Action. Such Protected Material may be
 12    disclosed only to the categories of persons and under the conditions described in this
 13    Order. When the Action has been terminated, a Receiving Party must comply with
 14    the provisions of Section 13 below (FINAL DISPOSITION).
 15          Protected Material must be stored and maintained by a Receiving Party at a
 16    location and in a secure manner that ensures that access is limited to the persons
 17    authorized under this Order.
 18          7.2    Disclosure of “CONFIDENTIAL” Information or Items.
 19          Unless otherwise ordered by the Court or permitted in writing by the
 20    Designating Party, a Receiving Party may disclose any information or item designated
 21    “CONFIDENTIAL” only to:
 22          (a).   The Receiving Party’s Outside Counsel of Record in this Action, as well
 23                 as employees of said Outside Counsel of Record to whom it is reasonably
 24                 necessary to disclose the information for this Action;
 25          (b).   The officers, directors, and employees (including In-House Counsel) of
 26                 the Receiving Party to whom disclosure is reasonably necessary for this
 27                 Action;
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   1         (c).   Experts (as defined in this Order) of the Receiving Party to whom
   2                disclosure is reasonably necessary for this Action and who have signed
   3                the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
   4         (d).   The Court and its personnel;
   5         (e).   Any court reporters and their staff;
   6         (g).   Professional jury or trial consultants, mock jurors and Professional
   7                Vendors to whom disclosure is reasonably necessary for this Action and
   8                who have signed the “Acknowledgment and Agreement to Be Bound”
   9                (Exhibit A);
  10         (h).   The author or recipient of a document containing the information or a
  11                custodian or other person who otherwise possessed or knew the
  12                information;
  13         (i).   During their depositions, employee or representative witnesses of the
  14                Producing Party, as reasonably necessary for the Action;
  15         (j).   During their depositions, witnesses (other than employee or
  16                representative witnesses of the Producing Party) and attorneys for
  17                witnesses in the Action to whom disclosure is reasonably necessary,
  18                provided: (1) the deposing party requests that the witness sign the form
  19                attached as Exhibit A hereto; and (2) the witness and the attorneys for
  20                the witness will not be permitted to keep any Protected Material, unless
  21                otherwise agreed by the Designating Party or ordered by the Court.
  22                Pages of transcribed deposition testimony or exhibits to depositions that
  23                reveal Protected Material may be separately bound by the court reporter
  24                and may not be disclosed to anyone except as permitted under this
  25                Stipulated Protective Order;
  26         (k).   Any mediator or settlement officer, and their supporting personnel,
  27                mutually agreed upon by any of the Parties engaged in settlement
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   1                discussions, provided that such individual(s) sign the form attached as
   2                Exhibit A hereto; and
   3         (l).   Any other person(s) as to whom the Designating Party agrees to in
   4                writing.
   5         7.3    Disclosure of “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
   6   ONLY” Information or Items.
   7         Unless otherwise ordered by the Court or permitted in writing by the
   8   Designating Party, a Receiving Party may disclose any information or item designated
   9   “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” only to the persons
  10   described in Section 7.2 above and under the conditions noted in Section 7.2 above,
  11   with the exception of (i) “the officers, directors, and employees (including In-House
  12   Counsel) of the Receiving Party to whom disclosure is reasonably necessary for this
  13   Action” (see Section 7.2(b)); and (ii) deposition witnesses (other than employee or
  14   representative witnesses of the Producing Party) and attorneys for such witnesses (see
  15   Section 7.2(j)). Information or items designated as HIGHLY CONFIDENTIAL –
  16   ATTORNEYS’ EYES ONLY may not be disclosed to such persons.
  17   8.    PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED
  18   IN OTHER LITIGATION
  19         If a Receiving Party is served with a subpoena or a court order issued in other
  20   litigation that compels disclosure of any information or items designated in this
  21   Action as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’
  22   EYES ONLY,” that Receiving Party must:
  23         (a).   Promptly notify the Designating Party in writing and include a copy of
  24                the subpoena or court order;
  25         (b).   Promptly notify in writing the party who caused the subpoena or order
  26                to issue in the other litigation that some or all of the material covered by
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   1                 the subpoena or order is subject to this Stipulated Protective Order. Such
   2                 notification will include a copy of this Stipulated Protective Order; and
   3         (c).    Cooperate with respect to all reasonable procedures sought to be pursued
   4                 by the Designating Party whose Protected Material may be affected.
   5         If the Designating Party timely seeks a protective order, the Party served with
   6   the subpoena or court order will not produce any information designated in this action
   7   as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
   8   ONLY” before a determination by the court from which the subpoena or order issued,
   9   unless the Receiving Party has obtained the Designating Party’s permission. The
  10   Designating Party will bear the burden and expense of seeking protection in that court
  11   of its Protected Material and nothing in these provisions should be construed as
  12   authorizing or encouraging a Receiving Party in this Action to disobey a lawful
  13   directive from another court.
  14   9.    A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
  15   PRODUCED IN THIS LITIGATION
  16         9.1     The terms of this Order are applicable to information produced by a Non-
  17   Party in this Action and designated as “CONFIDENTIAL” or “HIGHLY
  18   CONFIDENTIAL – ATTORNEYS’ EYES ONLY.” Such information produced by
  19   Non-Parties in connection with this Action is protected by the remedies and relief
  20   provided by this Order.       Nothing in these provisions should be construed as
  21   prohibiting a Non-Party from seeking additional protections.
  22         9.2     In the event that a Receiving Party is required, by a valid discovery
  23   request, to produce a Non-Party’s confidential information that is in the Receiving
  24   Party’s possession, and the Receiving Party is subject to an agreement with the Non-
  25   Party not to produce the Non-Party’s confidential information, then the Receiving
  26   Party will:
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   1         (a).   Promptly notify in writing the Requesting Party and the Non-Party that
   2                some or all of the information requested is subject to a confidentiality
   3                agreement with a Non-Party;
   4         (b).   Promptly provide the Non-Party with a copy of the Stipulated Protective
   5                Order in this Action, the relevant discovery request(s), and a reasonably
   6                specific description of the information requested; and
   7         (c).   Make the information requested available for inspection by the Non-
   8                Party, if requested.
   9         9.3.   If the Non-Party fails to seek a protective order from this Court within
  10   14 days of receiving the notice and accompanying information, the Receiving Party
  11   may produce the Non-Party’s confidential information responsive to the discovery
  12   request. If the Non-Party timely seeks a protective order, the Receiving Party will not
  13   produce any information in its possession or control that is subject to the
  14   confidentiality agreement with the Non-Party before a determination by the Court.
  15   Absent a Court order to the contrary, the Non-Party will bear the burden and expense
  16   of seeking protection in this court of its Protected Material.
  17   10.   UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
  18         If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
  19   Protected Material to any person or in any circumstance not authorized under this
  20   Order, the Receiving Party must immediately: (a) notify in writing the Designating
  21   Party of the unauthorized disclosures; (b) use its best efforts to retrieve all
  22   unauthorized copies of the Protected Material; (c) inform the person or persons to
  23   whom unauthorized disclosures were made of all the terms of this Order; and
  24   (d) request such person or persons to execute the “Acknowledgment and Agreement
  25   to Be Bound” that is attached hereto as Exhibit A.
  26   11.   INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
  27   PROTECTED MATERIAL
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   1         Pursuant to Rule 502 of the Federal Rules of Evidence, the production or
   2   disclosure of any documents, electronically stored information (“ESI”), items, or
   3   other information subject to a claim of privilege (including the attorney-client
   4   privilege, attorney work-product protection, or any other privilege or protection
   5   recognized by law) shall not under any circumstance be deemed a waiver in whole or
   6   in part of the Producing Party’s claim of privilege, either as to the specific information
   7   disclosed or as to any other information, even if the information involves the same or
   8   similar subject matter. Accordingly, as explicitly set forth in Rule 502(d), a Producing
   9   Party’s production of information subject to a claim of privilege (including the
  10   attorney-client privilege, attorney work-product protection, or any other privilege or
  11   protection recognized by law), whether inadvertent or not, shall be without prejudice
  12   to any subsequent claim by the Producing Party that such discovery material is
  13   privileged or otherwise protected, and shall not under any circumstance be deemed a
  14   waiver of any such privilege or protection in either this Action or any other federal or
  15   state proceeding. Upon learning of the disclosure of privileged information, the
  16   Producing Party shall provide written notice to the Receiving Party. The Receiving
  17   Party shall then treat the protected documents or information as privileged or
  18   otherwise protected from disclosure according to Federal Rule of Civil Procedure
  19   26(b)(5)(B), and shall immediately return such privileged or otherwise protected
  20   material to the Producing Party. This provision is not intended to modify whatever
  21   procedure may be established in an e-discovery order that provides for production
  22   without prior privilege review.
  23   12.   MISCELLANEOUS
  24         12.1 Right to Further Relief. Nothing in this Order abridges the right of any
  25   person to seek its modification by the Court in the future.
  26         12.2 Right to Assert Other Objections. By stipulating to the entry of this
  27   Protective Order no Party waives any right it otherwise would have to object to
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   1   disclosing or producing any information or item on any ground not addressed in this
   2   Order. Similarly, no Party waives any right to object on any ground to use in evidence
   3   of any of the material covered by this Order.
   4         12.3 Filing Protected Material. A Party that seeks to file under seal any
   5   Protected Material must comply with Civil Local Rule 79-5. Protected Material may
   6   only be filed under seal pursuant to a court order authorizing the sealing of the specific
   7   Protected Material at issue. If a Party’s request to file Protected Material under seal
   8   is denied by the Court, then the Receiving Party may file the information in the public
   9   record unless otherwise instructed by the Court.
  10         12.3 Party’s Own Material. Nothing herein shall prevent any party or third
  11   party from disclosing its own Protected Material in any manner that it considers
  12   appropriate.
  13   13.   FINAL DISPOSITION
  14         After the final disposition of this Action, as defined in Section 4, within sixty
  15   (60) days of a written request by the Designating Party, each Receiving Party must
  16   return all Protected Material to the Producing Party, including all copies, abstracts,
  17   compilations, summaries, and any other format reproducing or capturing any of the
  18   Protected Materials, or destroy such material.        Notwithstanding this provision,
  19   Counsel are entitled to retain an archival copy of all pleadings, motion papers, trial,
  20   deposition, and hearing transcripts, court filings, legal memoranda, correspondence,
  21   deposition and trial exhibits, expert reports, attorney work product, and consultant
  22   and expert work product, even if such materials contain Protected Material. Any such
  23   archival copies that contain or constitute Protected Material remain subject to this
  24   Protective Order as set forth in Section 4 (DURATION).
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   1   14.   WILLFUL VIOLATION
   2         Any willful violation of this Order may be punished by civil or criminal
   3   contempt proceedings, financial or evidentiary sanctions, reference to disciplinary
   4   authorities, or other appropriate action at the discretion of the Court.
   5         IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
   6

   7
        DATED:        Feb. 9, 2024                 By: /s/ Gillian L. Wade
                                                   Milstein Jackson Fairchild & Wade, LLP
   8                                               Attorneys for Plaintiffs Williene Jackson-
   9                                               Jones and Karen Santos

  10

  11    DATED:        Feb. 9, 2024                 By: /s/ James F. Speyer
                                                   Arnold & Porter Kaye Scholer LLP
  12                                               Attorneys for Defendants Epoch
  13                                               Everlasting Play, LLC and Target
                                                   Corporation
  14

  15
        DATED:        Feb. 9, 2024                 By: /s/ Kevin S. Asfour
  16                                               K&L Gates LLP
  17                                               Attorneys for Defendant Amazon.com
                                                   Services LLC
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  20   FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
  21

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  23   DATED: _______________
               February 12, 2024                   __________________________________
                                                   HON. STEVE KIM
  24                                               United States Magistrate Judge
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   1                                        EXHIBIT A
   2             ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
   3

   4         I, _____________________________ [full name], of _________________
   5   [full address], declare under penalty of perjury that I have read in its entirety and
   6   understand the Stipulated Protective Order that was issued by the United States
   7   District Court for the Central District of California on [date] in the case of Williene
   8   Jackson-Jones, et al. v. Epoch Everlasting Play, LLC, et al., Case No. 2:23-cv-02567-
   9   ODW-SK (C.D. Cal.). I agree to comply with and to be bound by all the terms of this
  10   Stipulated Protective Order and I understand and acknowledge that failure to so
  11   comply could expose me to sanctions and punishment in the nature of contempt. I
  12   solemnly promise that I will not disclose in any manner any information or item that
  13   is subject to this Stipulated Protective Order to any person or entity except in strict
  14   compliance with the provisions of this Order.
  15         I further agree to submit to the jurisdiction of the United States District Court
  16   for the Central District of California for the purpose of enforcing the terms of this
  17   Stipulated Protective Order, even if such enforcement proceedings occur after
  18   termination of this action.
  19

  20   Date: ______________________________________
  21   City and State where signed: _________________________________
  22   Printed name: _______________________________
  23   Signature: __________________________________
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